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                     UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA
                      CIVIL NO. 22-1203(DSD/DJF)


Rita Mathiason,


                  Plaintiff,

v.                                                 ORDER

Shutterfly, Inc.,

                  Defendant.


     This matter is before the court on the objection by plaintiff

Rita Mathiason to the May 16, 2023, order of Magistrate Judge Dulce

J. Foster granting Mathiason’s motion for leave to amend her

complaint to include a claim for punitive damages (Order).

     The district court will modify or set aside a magistrate

judge’s order on a nondispositive issue only if it is clearly

erroneous or contrary to law.      28 U.S.C. § 636(b)(1)(A); Fed. R.

Civ. P. 72(a); D. Minn. L.R. 72.2(a).           This is an “extremely

deferential” standard.     Reko v. Creative Promotions, Inc., 70 F.

Supp. 2d 1005, 1007 (D. Minn. 1999).            “A finding is clearly

erroneous when although there is evidence to support it, the

reviewing court on the entire evidence is left with the definite

and firm conviction that a mistake has been committed.”          Chakales

v. Comm’r of Internal Revenue, 79 F.3d 726, 728 (8th Cir. 1995)

(citations and internal quotation marks omitted).          “A decision is
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contrary to law when it fails to apply or misapplies relevant

statutes, case law or rules of procedure.” Knutson v. Blue Cross

& Blue Shield of Minn., 254 F.R.D. 553, 556 (D. Minn. 2008)

(citations and internal quotation marks omitted).

     Based on its review of the record and applicable caselaw, the

court   determines    that   the   magistrate   judge’s    thorough     Order

correctly concluded that Mathiason’s proposed amended complaint

adequately pleads a claim for punitive damages.

     Accordingly, based on the above, IT IS HEREBY ORDERED that

the objection [ECF No. 56] to the magistrate judge’s Order is

overruled.



Dated: June 13, 2023

                                   s/David S. Doty
                                   David S. Doty, Judge
                                   United States District Court




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